                    IN THE UNITED STATES DISTRICT COURT
                FOR THE MIDDLE DISTRICT OF NORTH CAROLINA

 SANDRA L. COVINGTON, et al.,                )
                                             )
                      Plaintiffs,            )
                                             )
               v.                            )                 1:15-CV-399
                                             )
 STATE OF NORTH CAROLINA, et                 )
 al.,                                        )
                                             )
                      Defendants.            )

                                        ORDER

       The Court has reviewed the questions submitted by the parties, Doc. 235 and Doc.

236, and the report of Douglas Johnson, Doc. 234-1.

       The Court will not direct the Special Master to address Plaintiff’s Questions 1-4,

as these questions contain an incorrect factual assumption and ask the Special Master to

express an opinion beyond the issues he was appointed to address. The Court will not

direct the Special Master to address Plaintiff’s Question 9 as it is argumentative and

unnecessary.

       Without approving the form of the questions, the Court directs the Special Master

to address the substance of Plaintiff’s Questions 6 (addressing whether he considered race

at all in his drafting process, and if so, when and how), 7, and 8. The Special Master may

address the substance of Plaintiff’s Question 5 to the extent it is helpful in addressing

Question 6, but otherwise no answer to Plaintiff’s Question 5 will be required.

       The Court will not direct the Special Master to address specifically Legislative

Defendants’ Questions 1-4, as those questions as propounded are, in varying degrees,




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argumentative, unnecessary, unhelpful to the Court, distracting, and unproductive. In lieu

thereof, the Court will direct the Special Master to address his compliance with the

Court’s Order concerning communications and to disclose any monetary payments he

received (or agreements as to future payments) since 2011 from any of the groups listed

in connection with the work identified.

       Without approving the form of the questions and without requiring that the

questions be answered one by one or in any specific order, the Court directs the Special

Master to address the substance of Legislative Defendants’ Questions 5 and 7-42. The

Special Master need not produce any drafts or stat packs.

       As to Legislative Defendants’ Question 6, the Court will provide the answer as

follows:

       Question to the Court from Professor Persily:

                      I am seeking clarification with respect to the Court's order of
              November 1, 2017, as to how to redraw the House districts in Wake and
              Mecklenburg Counties. I understand from the Court's order that 2011
              House districts 36, 37, 40, 41, and 105 should be reinstated. I also
              understand that the Court does not have concerns regarding the 2017
              configuration of the remedial districts themselves in those counties -- that
              is, 2017 Enacted Districts 33, 38, 99, 102, and 107. I am interpreting the
              Court's order as directing me to retain the 2017 districts that do not need to
              be redrawn to address the state constitutional violation in those
              districts. For example, to reinstate 2011 District 105 in southern
              Mecklenburg County would only necessitate redrawing districts that
              currently adjoin 105. It would not require redrawing of the 2011 Subject
              Districts in that County. Am I correct in interpreting the Court's direction
              that modifications to the 2017 districts in Wake and Mecklenburg Counties
              shall only extend to remedying the districts that violate the state
              constitution, rather than using my discretion to redraw the 2011 Subject
              Districts in those counties to address the previously recognized infirmity of
              those districts under the U.S. Constitution?


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       Answer from the Court:

                    On behalf of the court, the answer to your question is yes, with the
              understanding, of course, that the redrawn districts cannot perpetuate the
              2011 violations and must be constitutionally adequate.


       At the hearing, the Legislative Defendants may proffer testimony from Douglas

Johnson. The Court reserves ruling on whether and to what extent the Court will

consider any such proffered testimony. The Court asks the Special Master to be prepared

to address the CDP/Municipality Issue raised in the Johnson report. The Special Master

may, but is not required to, address such other matters in the Johnson report as he

believes would be helpful to the Court’s evaluation of the Special Master’s report.

       SO ORDERED, this the 3rd day of January, 2018.




                                          __________________________________
                                           UNITED STATES DISTRICT JUDGE
                                           FOR THE COURT




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